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                                                                 VS CiT
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                                                               C LER
                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                        STATESBORO DIVISION


LEROY BETHEL,                        )
                                     )
        Movant,                      )
                                     )
I!,                                  )    Case No. CV612-082
                                     )              0R696-004
UNITED STATES OF AMERICA,            )
                                     )
        Respondent.                  )
                                 ORDER
        After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

        SO ORDERED this Vday of                          , 2012.




                                    B. AVANT EDENFIEW
                                    UNITED STATES J)TIUCT JUDGE
                                    SOUTHERN DISTftICT OF GEORGIA
